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             IN THE UNITED STATES DISTRICT COURT
            FOR THE EASTERN DISTRICT OF MICHIGAN
____________________________________
                                    )
SPEECH FIRST, INC.,                 )
                                    )
                                    )
                Plaintiff,          )
                                    ) Civil No. 4:18-cv-11451-LVP-EAS
v.                                  ) Hon. Linda V. Parker
                                    ) Mag. Judge Elizabeth A. Stafford
MARK SCHLISSEL, et al.,             )
                                    )
                                    )
                Defendants.         )
____________________________________)

       DEFENDANTS’ REPLY IN SUPPORT OF ITS MOTION FOR
     EXTENSION OF TIME TO OPPOSE PLAINTIFF’S MOTION FOR
                  PRELIMINARY INJUNCTION

        Defendants file this reply simply to note that Plaintiff misstates the rule

governing the time within which to file an opposition to a motion for preliminary

injunction. Because such a motion is a “dispositive motion,” see LR 7.1(e)(1)(A),

the time specified under the Local Rule within which to file an opposition is 21 days,

not 14 as Plaintiff states, see LR 7.1(e)(1)(B).

Dated May 17, 2018                      Respectfully Submitted,

                                        /s/Rian C. Dawson
                                        Attorney for Defendants




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                          CERTIFICATE OF SERVICE

        This is to certify that on May 17, 2018, a copy of the foregoing was

electronically filed with the Clerk of the Court using the ECF system which will

send notification of such filing to the attorneys of record.



                                 Respectfully submitted,

                                 HONIGMAN MILLER SCHWARTZ
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